Case: 4:17-cr-00131-DMB-JMV Doc #: 1-5 Filed: 11/03/17 1 of 1 PagelD #: 18

 

 

CRIMINAL CASE COVER SHEET U.S. DISTRICT COURT
Complete entire form
Place of Offense: Related Case Information:
City Cleveland Superseding:|_]Yes[W¥|No Ifyes, Case No.
. Same Defendant New Defendant
County Bolivar

 

REC FIVED Magistrate Judge Case Number

Nov 03 2017 Search Warrant Case Number

R20/R40 from District of

UNITED STATES DISTRICT COUR |
NORTHERN DISTRICT OF MISSISSIPF Rslaied Chimial Case Monier 4:17-CR-119-MPM

 

 

 

Defendant Information:

Juvenile: [Wes [V|No If yes, Matter to be sealed: [ves [_|No
Defendant Name ANNETTE LOFTON

 

 

 

 

Alias Name

Address Farrell, MS

pop 1965 SSH XXX-XX-7062 gay F Race B Nationality
Represented by:

 

U.S. Attorney Information: AUSA Clayton A. Dabbs Bar # 101537

Interpreter:| |Yes |¥|No List Language and/or dialect:
Pp

 

 

Location Status:

Pretrial Release [VlYes [_INo In Custody [_|Yes [V No

Federal State Date of Arrest

 

Location

 

U.S.C. Citations

 

 

 

 

Total # of Counts 4 [_ ]Petty [Misdemeanor [V |Felony
Title & Section Description of Offense Charged Count(s)
Set | 18:1349.F ATTEMPT AND CONSPIRACY TO COMMIT FRAUD l

Set 2 18:1347.F HEALTH CARE FRAUD 1, 11-13
Set 3

Set 4 Zz

 

Date: 11/2/2017 Signature of AUSA Za : —>
> —f—-

7

 

District Court Case Number:
(To be entered by Clerk) WATCKAS\
